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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                FAYETTEVILLE DIVISION

UNITED STATES OF AMERICA                                                       PLAINTIFF

        ATTORNEYS:            Carly Marshall       William Clayman
                              Dustin Roberts

V.                             CASE NO. 5:21-CR-50014-001

JOSHUA JAMES DUGGAR                                                        DEFENDANT

        ATTORNEYS:            Justin Gelfand       Ian Murphy
                              Travis Story

JUDGE: TIMOTHY L. BROOKS                                        REPORTER: PAULA BARDEN

                                                            COURT CLERK: SHERI CRAIG

                                       MINUTES
                            CRIMINAL JURY TRIAL (DAY EIGHT)
                                   December 9, 2021

 TIME       MINUTES
 8:36 am    Court Convenes with Jury Panel
 8:38 am    Jury retires to resume deliberations
 10:07 am   Jury returns Verdict:
                    Count 1 - Guilty
                    Count 2 - Guilty
            Jurors Polled
            Jurors released
            Defendant remanded to the custody of the USMS pending sentencing
 10:27 am   Court Adjourned
